          Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 1 of 12




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


    COALITION FOR GOOD
    GOVERNANCE, et al.,

    Plaintiffs,
                                                   Civil Action No. 21-cv-02070-JPB
    v.

    BRIAN KEMP, et al.,

    Defendants.

                  BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION
                            FOR LEAVE TO AMEND

                              Introduction and Summary

         Pursuant to Rule 15(a) of the Federal Rules of Civil Procedure, Plaintiffs

have moved for leave to file a First Amendment to Amended Complaint to add

Count XV, which is a First Amendment challenge to Tally Rules, O.C.G.A. § 21-

2-386(a)(2)(A) & (B)(vi).1 New Count XV is added as an amended to the

Amended Complaint because, under Local Rule 15.1, “reproduction of the entire

pleading as amended would be unduly burdensome.” The proposed First

Amendment to the Amended Complaint is attached to the Motion as Exhibit A.


1
 Tally Rules 1 and 2 were called “Estimating Ban A” and “Estimating Ban B” in Plaintiffs’
Complaints and Briefs.
        Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 2 of 12




       SB 202 contains two “Tally Rules” prohibiting the tallying, tabulating, or

estimating of “absentee ballots cast” (Tally Rule 1) or “votes on the absentee

ballots cast” (Tally Rule 2) during pre-Election Day absentee ballot processing.2

The two “Tally Rules” are found in O.C.G.A. § 21-2-386(a)(2), which governs the

wide-ranging activities that must be open to the public taking place in the absentee

mail ballot processing facilities up until 7 am on Election Day.3 Plaintiffs

originally challenged the Tally Rules as void for vagueness under the Due Process

Clause because, among other reasons, they criminalize “pure thought.” Plaintiffs

did not originally challenge the Tally Rules under the First Amendment because

Plaintiffs did not read the Tally Rules as prohibiting or restricting communications.

In its Order on Plaintiffs’ Motion for Preliminary Injunction, however, the Court

rejected Plaintiffs’ reading of the Tally Rules, holding that “objective conduct,

rather than mere thought, would be necessary for enforcement,” and noting in a

footnote that Plaintiffs “mentioned but did not develop and argument that


2
 The Tally Rule provisions of SB 2020, O.C.G.A. § 21-2-386(a)(2)(A) & (B)(vi), relate to the
processing of absentee mail ballots from the third Monday prior to Election Day until 7 AM on
Election Day. Long-existing statutes, codified at O.C.G.A. § 21-2-386(a)(5) & (6), provide
different regulations for the same activities beginning at 7 AM on Election Day.
3
  Such activities include, but are not limited to, removing ballots from envelopes, inspecting
ballots for damage, manual duplication of damaged ballots, verifying the validity of the ballot
style, documenting ballot accounting controls, documenting and verifying chain of custody of
ballots and envelopes, scanning and tabulation of ballots, and securing ballots when not in active
use.

                                                2
       Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 3 of 12




prohibiting communications regarding ballot estimates would implicate the First

Amendment.” (ECF No. 49 at 34-35). Based on the Court’s ruling, Plaintiffs now

seek leave to bring a First Amendment challenge to the Tally Rules.

             A. Need for Amendment

      The need to add a First Amendment challenge to the Tally Rules arises out

of this Court’s interpretation of Tally Rules in its August 20, 2021 Order denying

in part and granting in part Plaintiffs’ Motion for Preliminary Injunction (ECF No.

49). In their First Amended Complaint filed on June 11, 2021, and in their Motion

for Preliminary Injunction filed on June 14, 2021, Plaintiffs made a Due Process

void-for-vagueness challenge to the Tally Rules. (ECF No. 14 at ¶¶ 436 to 442;

ECF No. 15-1 at 16 – 19). Plaintiffs did not raise a First Amendment challenge to

the Tally Rules because Plaintiffs read the Tally Rules as not restricting speech.

Instead, the Tally Rules, as enacted, criminalize the acts of tallying, tabulating, or

estimating, or attempting to do so. One of the grounds for Plaintiffs’ Due Process

challenge was that the statutes criminalize pure thought; the crime was complete

without any overt action of any kind. Plaintiffs’ interpretation of the Tally Rules

was further supported by the existence of another rule – the “Communications

Rule” – which immediately follows Tally Rule 2 and expressly prohibits

“[c]ommunicating any information” seen “while monitoring the processing and


                                           3
       Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 4 of 12




scanning of the absentee ballots.” O.C.G.A. § 21-2-386(a)(2)(B)(vi). If the Tally

Rules prohibited more than pure thought, and extended to communicating those

thoughts, then they would prohibit the same conduct as the Communications Rule,

rendering the Tally Rules “mere surplusage.” Slakman v. Cont’l Cas. Co., 277 Ga.

189, 190 (2002) (“we apply the fundamental rules of statutory construction that

require us to construe a statute according to its terms, to give words their plain and

ordinary meaning, and to avoid a construction that makes some language mere

surplusage”).

      In its Order, however, the Court rejected Plaintiffs’ reading of the statute.

The Court stated that “writing down a tally or estimate of the number of ballots

case is an observable act that would violate the rules.” (Doc. 49 at 34). The Court

continued:

      And such objective conduct, rather than mere mental thought, would
      be necessary for enforcement. See United States v. Oviedo, 525 F.2d
      881, 884 (5th Cir. 1976) (holding that our jurisprudence does not
      permit the punishment of a person’s “thoughts, desires, or motives,
      through indirect evidence, without reference to any objective fact.”).

(Doc. 49 at 34-35). Thus, as interpreted by the Court, the Tally Rules may

criminalize objective conduct that manifests tallying, tabulating or estimating,

including recording tallies, tabulations or estimates or communicating them to

others. This conduct implicates the First Amendment.


                                          4
         Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 5 of 12




        Indeed, the Court anticipated this issue in footnote 19 to the passage quoted

above:

        Plaintiffs mentioned but did not develop an argument that prohibiting
        communications regarding ballot estimates would implicate the First
        Amendment, so the Court does not address it.

(Doc. 49 at n. 19).

        The State Defendants may contend that Plaintiffs should have anticipated

this reading of the Tally Rules and brought a First Amendment claim initially.

Though Plaintiffs understand and respect the Court’s reasoning to the contrary,

Plaintiffs’ interpretation of the statute was not unreasonable under Georgia law.4

        In any event, under the liberal standards of Rule 15, leave should be granted

to allow Plaintiffs to assert the claim based on the Court’s interpretation of the law.

                B. Strength of the Amended Claim on the Merits




4
  See also Deal v. Coleman, 294 Ga. 170, 172 (2013) (“When we consider the meaning of a
statute, ‘we must presume that the General Assembly meant what it said and said what it
meant.’”). The inclusion of language addressing communications in the Communications Rule,
which directly follows Tally Rule 2 at subsection (vii) of O.C.G.A. § 21-2-386(a)(2)(B), and its
omission in Tally Rule 2 itself, is presumed to be intentional on the part of the Legislature under the
doctrine of expressio unius est exclusio alterius. Truist Bank v. Stark, 359 Ga. App. 116, 854
S.E.2d 784, 786 (2021) (“Under the statutory interpretation doctrine of expressio unius est
exclusio alterius, where [the General Assembly] includes particular language in one section of a
statute but omits it in another section of the same Act, it is generally presumed that [the General
Assembly] acts intentionally and purposely in the disparate inclusion or exclusion.”).


                                                   5
       Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 6 of 12




      Although the potential merit of a proposed amendment is not necessarily

germane to a determination whether to grant leave to amend, the added First

Amendment challenge to the Tally Rules is particularly strong in light of this

Court’s ruling on Plaintiffs’ other First Amendment Claims. The Court has already

found that Plaintiffs have standing to challenge the Tally Rules and that the State

Defendants’ threshold arguments (redressability, etc.) are meritless. On the merits,

the Tally Rules are content-based: they criminalize speech about estimating,

tabulation, and tallying of absentee ballots cast (Tally Rule 1) or votes on the

absentee ballots cast (Tally Rule 2), and not speech about other matters. In this

respect, they are no different that the Communications Rule, which this Court

found to be content-based. See Order, ECF No. 49 at 18. They are therefore

presumptively unconstitutional: “Content-based laws—those that target speech

based on its communicative content—are presumptively unconstitutional and may

be justified only if the government proves that they are narrowly tailored to serve

compelling state interests.” Reed v. Town of Gilbert, Ariz., 575 U.S, 155, 163

(2015). See also Consol. Edison Co. v. Public Service Comm’n, 447 U.S. 530, 537

(1980) (even if viewpoint neutral, content-based restrictions are presumptively

unconstitutional).




                                          6
       Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 7 of 12




      Tally Rule 1 is particularly suspect because, unlike the Communications

Rule (and Tally Rule 2), Tally Rule 1 restricts speech anywhere. The lower

standard of review that would apply to restrictions on speech in non-public forums,

and which the Court applied to the Communications Rule, has no applicability to

Tally Rule 1. Compare Minn. Voters All. V. Mansky, 138 S. Ct. 1876, 1886

(2018); Order, ECF No. 49 at 16-17.

      Tally Rule 1, therefore, is subject to strict scrutiny: it “may be justified only

if the government proves that the regulation is narrowly tailored to serve

compelling state interests.” Id., ECF No. 49 at 16 (citing Reed, 576 U.S. at 165).

Again, Tally Rule 1 makes it a misdemeanor for any person to tally, tabulate or

estimate the “absentee ballots cast until the time for the closing of the polls.”

O.C.G.A. § 21-2-386(a)(2)(A). The key phrase here is “absentee ballots cast,”

which does not mean “votes cast,” “vote tallies" or “vote counts.” The number of

absentee ballots cast – the subject of Tally Rule 1 - includes the number of

absentee ballots that are in various stages of processing and counting. “Votes

cast,” “vote tallies,” or “vote counts,” on the other hand, refers to how many votes

a particular candidate or a particular proposition has received. Plaintiffs

completely agree that the State has a compelling interest in prohibiting anyone

from tabulating, tallying, or even knowing, and an even stronger interest in


                                           7
         Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 8 of 12




preventing anyone from disclosing, any vote counts or trends prior to the closing of

the polls on Election Day. On the other hand, the State has no interest in

restricting information about the number of absentee ballots cast or in processing;

this is public information that is routinely the subject of public and official

oversight and legitimate press coverage.

        Tally Rule 2 is different than Tally Rule 1 in important respects. First, as

noted above, it prohibits the tallying, tabulating and estimating of “votes on the

absentee ballots cast,” not the “absentee ballots cast,” which is prohibited by Tally

Rule 1. Unlike Tally Rule 1, Tally Rule 2 only restricts activities while the

monitors and observers are monitoring and observing within the Ballot Counting

Room.5 Plaintiffs fully agree that the disclosure of information about tallies of

contests, including vote tally estimates and trends that a monitor or observer

obtains observing the processing of absentee ballots before the close of the polls,

should be prohibited. See Amended Complaint, ECF No. 14 at ¶ 428). Yet the

objective conduct that Tally Rule 2 might be read to criminalize extends beyond

the disclosure of such vote count information to others (already criminalized by the

Communications Rule) to the mere recording (during the monitoring or observing


5
 Tally Rule 2 is in the same section as the Communications Rule, which this Court held only applied to speech
occurring while the monitors and observers were monitoring or observing in the Ballot Counting Room. (ECF No.
49 at 18-19).


                                                      8
       Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 9 of 12




before the close of the polls) by a monitor or observer of tallies, tabulations or

estimates of “votes on the absentee ballots cast.” To be sure, describing exactly

what Tally Rule 2 does and does not criminalize is difficult if not impossible,

providing further support for Plaintiffs’ void for vagueness claim. In any event,

however, the State has no justification for criminalizing such conduct, particularly

given the First Amendment implications of doing so. See Reed, 576 U.S. at 165.

       C. Timeliness and Lack of Prejudice

       This Motion for Leave to Amend is timely brought and Defendants will

suffer no prejudice from the granting of leave. Discovery has not begun and

Defendants have ample time to answer and otherwise defend the claim.

       D. Not a Shotgun Pleading

       Anticipating the Defendants’ semi-automatic argument,6 Plaintiffs show that

the First Amendment to the Amended Complaint, like the prior two complaints, is

not a shotgun pleading. The First Amendment complies with each of the pleading

requirements set forth by the Eleventh Circuit in the seminal “shotgun pleading”

case, Weiland v. Palm Beach County Sheriff’s Office, 792 F.3d 1313, 1323-1324


6
 In their Motion to Dismiss, Defendants argued that the Amended Complaint is “an improper
shotgun pleading.” (ECF No. 41-1 at 3). Defendants, ironically, did not support this statement
with citations to the record or caselaw. Defendants made the same unsuccessful argument
repeatedly in Curling v. Raffensperger, No. 17-cv-02989-AT, ECF No. 234-1 at 14; ECF No.
645-1 at 20.

                                               9
      Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 10 of 12




(11th Cir. 2015). The count does not replead all the prior allegations, but instead

carefully selects those prior allegations (Paragraphs 1 through 365) that are

germane to the count. The same is true for the Amended Complaint. (ECF No. 14

at, e.g., ¶ 392 (incorporating paragraphs 1 to 365 and 376 to 391); ¶ 464

(incorporating paragraphs 1 to 365 and 458 to 463). The First Amendment to the

Amended Complaint, like the two prior complaints, also does not commit the other

“mortal” and “venial” sins identified by the Weiland court, such as not identifying

the parties to a count, not having separate counts for separate causes of action, or

including extraneous allegations.

       For the foregoing reasons, Plaintiffs should be granted leave to file the First

Amendment to the Amended Complaint.

      Respectfully submitted this 7th day of February, 2022.


      /s/ Bruce P. Brown                        /s/ Cary Ichter
      Bruce P. Brown                            Cary Ichter
      Georgia Bar No. 064460                    Georgia Bar No. 382515
      BRUCE P. BROWN LAW LLC                    ICHTER DAVIS LLC
      1123 Zonolite Rd. NE                      3340 Peachtree Road NE
      Suite 6                                   Suite 1530
      Atlanta, Georgia 30306                    Atlanta, Georgia 30326
      (404) 386-6856                            (404) 869-7600
      bbrown@brucepbrownlaw.com                 CIchter@Ichterdavis.com




                                          10
Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 11 of 12




/s/ Greg K. Hecht                    /s/Shea E. Roberts
Greg K. Hecht                        Shea E. Roberts
Georgia Bar No. 003860               Georgia Bar No. 608874
HECHT WALKER, P.C.                   GIACOMA ROBERTS & DAUGHDRILL LLC
Suite B                              945 East Paces Rd.
Stockbridge, Georgia 30281           Suite 2750
(404) 348-4881                       Atlanta, Georgia 30326
greg@hmhwlaw.com                     (404) 924-2850
                                     sroberts@grdlegal.com




                               11
      Case 1:21-cv-02070-JPB Document 69-1 Filed 02/07/22 Page 12 of 12




 CERTIFICATE OF SERVICE AND CERTIFICATE OF COMPLIANCE WITH
                       LOCAL RULE 5.1



      Pursuant to N.D. Ga. L.R. 5.1(C), I certify that the foregoing was prepared

using Times New Roman 14 font. I electronically filed this using CM/ECF, thus

electronically serving all counsel of record.

      This 7th day of February, 2022.

                                        /s/ Bruce P. Brown
                                        Bruce P. Brown
                                        Georgia Bar No. 064460
                                        BRUCE P. BROWN LAW LLC
                                        1123 Zonolite Rd. NE
                                        Suite 6
                                        Atlanta, Georgia 30306
                                        (404) 386-6856
                                        bbrown@brucepbrownlaw.com




                                          12
